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                         NO. 22-60674


              In the United States Court of Appeals
                      For the Fifth Circuit


                        J. KYLE BASS,
                            Petitioner

                                   v.

     SECURITIES AND EXCHANGE COMMISSION,
                           Respondent.



          BRIEF OF PETITIONER J. KYLE BASS


On petition for review from the Securities and Exchange Commission,
          NCA 2018-079, Rel. No. 96439, File No. 2023-19


                                   Andrew W. Guthrie
                                   Texas Bar No. 24078606
                                   Katherine S. Addleman
                                   Texas Bar No. 09005400
                                   Ryan Paulsen
                                   Texas Bar No. 24060397
                                   HAYNES AND BOONE, LLP
                                   2323 Victory Avenue, Ste. 700
                                   Dallas, TX 75219
                                   Telephone: (214) 651-5000
                                   andrew.guthrie@haynesboone.com
                                   kit.addleman@haynesboone.com
                                   ryan.paulsen@haynesboone.com

                                   ATTORNEYS FOR PETITIONER
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                CERTIFICATE OF INTERESTED PERSONS

Case Number and Style: No. 22-60674; Bass v. Securities and Exchange Commission

       The undersigned counsel of record certifies that the following listed persons
and entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an
interest in the outcome of this case. These representations are made in order that the
judges of this Court may evaluate possible disqualification or recusal.

I.    Petitioner

      J. Kyle Bass

      Counsel for Petitioner:

      Andrew W. Guthrie
      Katherine S. Addleman
      Ryan Paulsen
      HAYNES AND BOONE, LLP
      2323 Victory Avenue, Ste. 700
      Dallas, TX 75219

II.   Respondent

      Securities and Exchange Commission

      Appellate Counsel for Respondent:

      William K. Shirey
      U.S. Securities and Exchange Commission
      100 F. St., N.E.
      Washington, D.C. 20549




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Agency Counsel for Respondent:

Emily Pasquinelli
Eric Young
Laura Ordaz
Nicole C. Kelly
Office of the Whistleblower
U.S. Securities and Exchange Commission
100 F Street, N.E.
Washington, D.C. 20549

                                       /s/ Andrew W. Guthrie
                                       Andrew W. Guthrie
                                       Counsel for Petitioner J. Kyle Bass




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              STATEMENT REGARDING ORAL ARGUMENT

      Kyle Bass respectfully requests the opportunity to present oral argument. This

appeal challenges the SEC’s arbitrary and inexplicable decision to reject Bass’s

request for a whistleblower award even after he provided valuable information about

securities violations that led to the SEC recovering millions of dollars. That result is

as unfair as it sounds, but the SEC’s reasoning somehow made it worse. The agency

first found that Bass (an individual) did not provide any information in his individual

capacity—despite ample evidence showing just that—and in so doing, impermissibly

added a presumption against individual action to the whistleblower statute. Worse

yet, the SEC rejected Bass’s whistleblower claim by enforcing a regulatory filing

deadline that it did not enact until roughly four years after Bass initially blew the

whistle. Though the inequity of the SEC’s decision is hopefully clear enough, oral

argument may assist the Court in resolving the legal issues raised in this appeal.




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                ABBREVIATIONS AND RECORD REFERENCES

PARTIES:

“Bass” refers to Petitioner J. Kyle Bass.

“SEC” refers to Respondent Securities and Exchange Commission.

“Hayman” refers to Hayman Capital Management, LP.

“UDF” refers collectively to United Development Funding IV and other related
entities.

DOCUMENTS:

“Final Order” refers to the Order Determining Whistleblower Claims issued by the
SEC on December 2, 2022 (AR:544-551).

RECORD REFERENCES:

References to the Administrative Record shall be in the form of “AR:[page #].”1

References to entries on this Court’s docket shall be in the form of “Dkt. _.”




1
 As required by 5th Cir. R. 30.2(a), and because the SEC elected to file a certified list in lieu of the
record itself, Bass will file and serve a copy of all relevant portions of the administrative record
after the SEC files its response brief. For ease of the Court’s reference, the documents in that copy
of the record will be numbered using the format “AR:[page#].”


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                        JURISDICTIONAL STATEMENT

      The SEC had jurisdiction to issue the December 2, 2022 Final Order under

Section 21F(c) and (f) of the Securities Exchange Act of 1934, which authorizes the

SEC to make determinations regarding whistleblower awards. 15 U.S.C. § 78u-6(c),

(f); see also 17 C.F.R. § 240.21F-13(a) (same).

      This Court has jurisdiction to review the SEC’s denial of Bass’s whistleblower

award application. 15 U.S.C. § 78u-6(f); 17 C.F.R. § 240.21F-13(a) (permitting

appeal of final award decision “to the United States Court of Appeals for the District

of Columbia Circuit, or to the circuit where the aggrieved person resides or has his

principal place of business”); Dkt. 1 at 2 (Bass resides and has his principal place of

business in this circuit); see also, e.g., Stryker v. SEC, 780 F.3d 163, 165 (2d Cir. 2015)

(“Section 21F(f) of the Securities Exchange Act, 15 U.S.C. § 78u–6(f), authorizes

us to review the SEC’s denial of a whistleblower award.”). Bass timely filed his

petition for review on December 29, 2022 (Dkt. 1). See 15 U.S.C. § 78u-6(f) (decision

“may be appealed to the appropriate court of appeals of the United States not more

than 30 days after the determination is issued by the Commission”).




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                   STATEMENT OF ISSUES PRESENTED

      This appeal raises two sets of issues arising from the SEC’s denial of Kyle

Bass’s request for a whistleblower award under 15 U.S.C. § 78u-6.

      1.     Did the SEC act arbitrarily, capriciously, and otherwise contrary to law

by concluding that Bass did not provide information as an individual where:

             a.   undisputed     evidence       established     Bass’s   active,   personal

                  participation in providing valuable information to the SEC, and

             b.   the SEC concocted an atextual presumption imputing Bass’s

                  individual actions to his wholly-owned firm rather than to himself?

      2.     Did the SEC act arbitrarily, capriciously, and otherwise contrary to law

by enforcing a 30-day regulatory filing deadline that was enacted four years after

Bass’s initial filing and rejecting Bass’s application as untimely because:

             a.   retroactive application of the deadline impermissibly imposed new

                  duties and legal consequences on Bass;

             b.   application of the new rule to a long-completed action was

                  arbitrary, capricious, and otherwise contrary to law; and

             c.   the SEC ignored numerous grounds that it has previously relied on

                  to support waiver of deadlines in similarly situated cases?




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                               INTRODUCTION

      The primary purpose of the SEC’s whistleblower program is to “motivate

people who know of securities law violations to tell the SEC.” Digital Realty Trust,

Inc. v. Somers, 138 S. Ct. 767, 773 (2018) (internal quotation omitted). To that end,

the program’s enabling statute declares that the SEC “shall pay an award or awards

to 1 or more whistleblowers who voluntarily provided original information to the

[SEC] that led to the successful enforcement” of a covered SEC action. 15 U.S.C.

§ 78u-6(b)(1) (emphasis added).

      Kyle Bass took the SEC up on its offer. After discovering red flags indicating

that several publicly-traded Texas entities were engaging in a Ponzi-like fraud

scheme, Bass voluntarily determined to “tell the SEC” what he had found. This led

to a series of meetings and discussions held over several months in which Bass and

other representatives from his wholly-owned investment fund shared and explained

hundreds of pages of proprietary analysis about the apparently illegal scheme.

      The SEC ran with that information to pursue civil charges and obtained a

multimillion-dollar recovery. The Department of Justice later secured criminal

convictions against some of the same executives. But when Bass applied for an award

under the SEC’s whistleblower program, the SEC turned on him. Ignoring

contradictory facts, the SEC determined that Bass’s personal acts were really those



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of his company and therefore concluded that he was somehow not an “individual”

under the broad statutory definition of “whistleblower.” Illogic aside, that finding

flew in the face of undisputed evidence that Bass conducted the initial research in his

individual capacity, provided it to the SEC in his individual capacity, and applied for

the whistleblower award in his individual capacity. In rejecting that evidence to find

that Bass didn’t really act as an individual, the SEC effectively rewrote the statute to

impose a presumption of entity activity that is nowhere in the statutory text.

      To make matters worse, the SEC declared Bass’s whistleblower application

untimely because he failed to submit one particular regulatory form within 30 days

of initially sharing his discoveries with the SEC. The biggest flaw in that conclusion:

there was no 30-day-filing requirement in the SEC’s rules until December 2020,

almost four years after Bass submitted his initial filing. What could be more arbitrary

and capricious than enforcing a deadline that didn’t exist at the relevant time? As if

to twist the knife even further, the SEC routinely waives this and other requirements

in cases where whistleblowers make technical errors in providing valuable

information—but it refused to grant such a deadline waiver for Bass.

      The Court should set aside these arbitrary rulings on APA grounds and

declare that Bass is entitled to some whistleblower recovery, to reaffirm the statutory




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purpose of the SEC’s whistleblower program: to encourage and reward—not trap

and punish—diligent whistleblowers.

                            STATEMENT OF THE CASE

       A.     Kyle Bass personally uncovered evidence of a Ponzi-like scheme
              operated by a group of affiliated Texas real estate investment
              entities.

       J. Kyle Bass is the owner, Chief Investment Officer, and Principal Executive

of Hayman Capital Management, LP. (AR:220, 537.)2 In those roles, Bass conducts

extensive market research to inform and direct investment activities for himself and

Hayman. (See AR:214, 538.) Beginning in 2014, Bass discovered significant red flags

in the public filings of United Development Funding IV (“UDF IV”), a publicly-

traded real estate investment trust that was ostensibly set up to loan money to

residential real estate developers. (AR:6, 8, 220.) With the assistance of his research

team at Hayman, Bass followed up on those red flags by conducting extensive due

diligence over several months. (AR:220-221.) Using proprietary research and even

personally visiting some of UDF IV’s properties, Bass uncovered facts suggesting

the existence of a Ponzi-like scheme involving UDF IV and other related entities

(together, “UDF”). (AR:220-221, 223-224.)




2
  At all relevant times, Hayman Capital was wholly owned, directly or indirectly, by Bass or his
family-related entities. (AR:537.)


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      The facts gathered by Bass and his team raised four primary red flags:

      (1) UDF apparently used funds raised by new investors to pay existing
          investors and stakeholders in previous UDF funds;

      (2) UDF extended high-risk loans to two related, financially distressed
          borrowers;

      (3) there appeared to be little or no development activity at the real estate
          sites funded by UDF; and

      (4) several late-stage events, including lawsuits and key resignations,
          suggested UDF was under financial distress and potentially evading tax
          obligations.

(AR:221-227.)

      B.     Bass personally provided whistleblower information to the SEC
             and personally filed a whistleblower claim.

      Bass decided to alert federal officials to this extensive evidence suggesting

wrongdoing on UDF’s part. (AR:221, 537-538.) Bass initially asked Christopher

Kirkpatrick—who served as both Hayman’s general counsel and Bass’s personal

counsel—to contact the SEC on his behalf and arrange for a meeting to discuss his

findings and conclusions. (AR:537, 542.) When those efforts proved unsuccessful,

Bass drew on his personal contacts to set up an in-person meeting in April 2015 with

officials from the FBI and U.S. Attorney’s Office. (AR:537.) SEC officials were

invited to participate in that meeting and did ultimately attend. (Id.)

      During that meeting, Bass personally led the discussion of an 80-page

presentation and supporting documents in which he explained his findings about


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UDF. (AR:229, 251-330, 506, 537-538.) Over the next several months, Bass

continued his research and analysis, working with his team at Hayman to produce

hundreds of pages of additional materials that were shared and discussed with SEC

officials at Bass’s direction and on his behalf. (AR:221, 332-436, 506, 538, 542.)

      To formalize his information sharing and to comply with existing SEC

whistleblower regulations, Bass hired an attorney who filed a “Form TCR” with the

SEC on January 20, 2017. (AR:210-217.) TCR stands for “Tip, Complaint, or

Referral.” (AR:212.) As the SEC explained in its 2011 rulemaking, “Form TCR, and

the instructions thereto, were designed to capture basic identifying information

about a complainant and to elicit sufficient information to determine whether the

conduct alleged suggests a violation of the Federal securities laws.” 76 Fed. Reg.

34,300, 34,337 (June 13, 2011). The Form TCR in this case listed Bass as the sole

complainant and was signed by Bass alone (AR:212, 214-215, 217), though the cover

letter and addendum reference Hayman as well (AR:208-209, 218).

      C.     Bass’s information was vital to the SEC’s successful efforts to
             obtain a multimillion-dollar recovery.

      As a direct result of the information developed and shared by Bass, the SEC

filed a civil complaint against UDF and several UDF executives in July 2018. (See

AR:3-24.) The complaint drew heavily from Bass’s information to allege many of the

same securities-law violations he had uncovered: undisclosed Ponzi-like


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distributions between different UDF entities to pay earlier investors, 3 impaired loans

extended by UDF but not adjusted under proper accounting principles,4 and UDF’s

failure to disclose the lack of development on its real property. 5 The summary chart

below details just a few of the dozens of examples of links between information Bass

reported to the SEC and allegations that the SEC ultimately asserted against UDF:

                Bass Reported                                  The SEC Alleged
    UDF “markets itself to retail investors         “UDF used money from a newer fund
    as an opportunity to diversify portfolios       to pay distributions to investors in an
    with ‘unique and fundamentally sound            older fund, without adequately
    investments’ in affordable residential          disclosing the use of funds and the
    real estate” but in reality, the “UDF           nature and status of loans made to
    umbrella exhibits characteristics               developers.” (AR:3-4 ¶ 1.)
    emblematic of a Ponzi-like scheme.”             “UDF did not disclose the true nature
    (AR:252.)                                       of the transactions giving rise to the
                                                    distributions”; instead, UDF investors
                                                    “were led to believe that their
                                                    investments were being deployed
                                                    towards active real estate projects.”
                                                    (AR:13 ¶ 32.)




3
 Compare AR:11 ¶ 25 with AR:258, 386; AR:11-12 ¶ 26 with AR:258, 330; AR:12 ¶ 26 with AR:260
and AR:439; AR:12 ¶ 27 with AR:252; AR:12-13 ¶¶ 27, 30 with AR:254; AR:12-13 ¶ 29 with AR:265;
AR:13-14 ¶ 32 with AR:252-253; AR:14 ¶¶ 33-34 with AR:258.
4
 Compare AR:14-16 ¶¶ 35, 37, 39 with AR:270; AR:16 ¶ 39 with AR:366; AR:16 ¶ 39 with AR:367-
369; AR:14-16 ¶¶ 35, 37, 39 with AR:220; AR:16 ¶ 39 with AR:277-278.
5
 Compare AR:17 ¶¶ 42–43 with AR:330; AR:16-17 ¶ 41 with AR:287; AR:17 ¶¶ 42–43 with AR:292;
AR:16-17 ¶¶ 41–43 with AR:293; AR:17 ¶ 42 with AR:466-468; AR:17 ¶ 42 with AR:295, 300.


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            Bass Reported                                 The SEC Alleged
Bass provided charts of “three loan            “Money advanced by UDF IV was
examples” from specific projects               reflected in UDF IV’s disclosures as an
showing that “UDF loans . . . accrue           increase in a specific loan’s carrying
larger and larger balances, have no cash       balance” and “UDF IV’s disclosures
receipts and are extended when the             showed developers borrowing
maturity date comes due.” (AR:265.)            increasing amounts related to specific
                                               real estate projects.” (AR:12-13 ¶ 29.)

“We visited a handful of development           “The disclosures further stated that
sites which secure UDF IV loans and            full collectability for this loan was
believe the loans are significantly            considered probable. But, UDF knew
under-collateralized and would be              or should have known that full
impaired by potentially 50-75% under           collectability . . . was not probable and,
reasonable valuation parameters.”              at best, highly uncertain.” (AR:15 ¶
(AR:270.)                                      37.)

“In many cases, loans are listed on raw        “In some cases, there was no
land scheduled to be developed that are        development at all on the properties,
not income producing for several               even after they had been in UDF IV’s
years” including:                              portfolio for years. … Nevertheless
                                               UDF IV underwrote several loans that
• “Three years later and upon                  were disclosed in its 2014 Form 10-K
  maturity of the note, there are a            that were for unimproved real
  total of 12 homes either under               property.” (AR:17 ¶¶42-43.)
  construction or complete”;
• In “another instance, almost three
  years after the issuance of 4 separate
  13% loans, there is no
  development”; and
• “[T]he collateral for this loan
  [Travis Ranch] seems to be an
  undeveloped incremental phase . . .
  which has not been developed or
  finished in the past 5 years.”

(AR:292, 295, 330 (emphasis omitted).)


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         The SEC agreed to a quick settlement of the non-scienter-based charges in its

complaint against UDF and obtained nearly $8.3 million in disgorgement,

prejudgment interest, and civil penalties. (See AR:1.) The SEC also allowed UDF

management to remain in place despite the company’s ongoing failures to file

updated financial statements. See In re United Dev. Funding III, LP, Rel. No. 89535

(S.E.C. Aug. 12, 2020). 6 This relatively soft touch stands in stark contrast to the

approach taken by the Department of Justice and the United States Attorney’s

Office for the Northern District of Texas, which continued investigating the many

red flags raised by UDF’s conduct, indicted and tried several UDF executives for

securities and wire fraud in 2022, and prevailed in securing criminal convictions and

jail time. See United States v. Greenlaw, No. 4:21-CR-289-O (N.D. Tex.), appeal filed,

No. 22-10511 (5th Cir.).

         In any event, the SEC announced its pre-packaged settlement with UDF and

the non-scienter charges in a July 3, 2018 “Litigation Release” posted to its website.

(AR:1.) This release, also known as the “Notice of Covered Action,” is a significant

step in the SEC’s whistleblower program. See 17 C.F.R. § 240.21F-10(a). As the SEC

explained in its 2011 rulemaking, any whistleblower who believes that he is entitled

to an award is required to submit an application using the SEC’s “Form WB–APP”;


6
    Available at https://www.sec.gov/litigation/opinions/2020/34-89535.pdf.


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but “[a] whistleblower can only submit a Form WB–APP after there has been a

‘Notice of Covered Action’ published on the Commission’s Web site pursuant to

[Rule 21F–10].” 76 Fed. Reg. at 34,354. Both the Rule in effect at the time and the

instructions on the SEC’s website required the prospective whistleblower to file

Form WB-APP within “ninety (90) days from the date of the Notice of Covered

Action” to which the claim relates. 17 C.F.R. § 240.21F-10(a); see also AR:28. Bass

followed those instructions and filed his completed Form WB-APP on October 4,

2018, thus formally requesting his statutory share of the SEC’s recovery. (AR:25-26;

see also AR:545 (conceding that Bass timely filed award claim).)

      D.     The SEC nevertheless              denied     Bass’s   application      for   a
             whistleblower award.

      Bass heard essentially nothing on the merits of his whistleblower application

for the next three years. Then, in July 2021, Bass received a “Preliminary

Determination” from the SEC’s Office of the Whistleblower recommending the

denial of his award application in full. (See AR:507-511.)

      Despite relying on Bass’s information throughout its complaint against UDF,

the SEC determined that Bass (“Claimant 2”) should be denied any whistleblower

recovery for two reasons: (1) the SEC concluded that Bass did not qualify as a

whistleblower because he “never individually provided the Commission with

information about a possible violation of the securities laws,” as required under 15


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U.S.C. § 78u-6(a)(6); and (2) the SEC faulted Bass for failing to submit the Form

TCR “within 30 days of the submission of” the information he had initially shared

with the SEC, as required by the current version of SEC Rule 21F-9(e). (AR:511.)

      Bass timely appealed the Preliminary Determination to the SEC, arguing that

both stated reasons for denying his application were incorrect. (AR:532.) On the first

ground, Bass explained that he had acted in his individual capacity; that Hayman

employees supported those efforts at his direction and on his behalf; and that while

the whistleblower rules “require[] a whistleblower to be an individual rather than a

company or entity, there is no requirement that every statement and all of the

information come directly from the mouth of or email address of that individual.” (Id.

(emphasis in original).) On the timing ground, Bass argued that his TCR, filed in

January 2017, was not subject to the 30-day filing deadline enacted in December

2020 and, alternatively, that he met the requirements for a deadline waiver

established by prior SEC determinations. (AR:534-536.) Bass also highlighted the

SEC’s reliance on the significant and original information he provided and the

absence of any ruling that his information would not otherwise qualify for an award.

(AR:536.)




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       The SEC was unmoved. On December 2, 2022, the SEC issued a Final Order

confirming the denial of any award to Bass (again identified as “Claimant 2”).

(AR:543-551.) 7 After summarizing the arguments raised in Bass’s appeal of the

Preliminary Determination, the SEC reaffirmed both of its previously-stated

grounds for denial. (AR:548.)

       The SEC first explained that “the claim that [Bass] provided information in

[his] individual capacity is unsupported by the record,” including because there was

“no evidence” that Hayman’s general counsel or employees actually represented

Bass in his individual capacity, rather than representing the entity, when they

presented information to the SEC. (Id.)

       On the timing issue, the SEC barely grappled with its application of a

regulatory deadline that didn’t exist when Bass filed his whistleblower requests,

noting only that Bass had “constructive notice” of the requirement to file a TCR

and suggesting that the deadline was a previously-unwritten rule. (See AR:546, 549.)

The SEC then analyzed Bass’s request for a deadline waiver and briefly attempted

to distinguish his circumstances from prior cases where waivers had been granted.

(AR:550.) Bass filed a timely petition for review of the Final Order. (Dkt. 1.)


7
  The Final Order also confirmed an award to another whistleblower whose identity remains
redacted. (AR:545, 548-549.) This separate award has no bearing on the current appeal because
Section 21F expressly permits awards to more than one whistleblower. See 15 U.S.C. § 78u-6(b)(1).


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                      SUMMARY OF THE ARGUMENT

      The SEC acted arbitrarily and capriciously in denying Bass’s whistleblower

request on both stated grounds. This Court should set aside the Final Order.

      First, the SEC’s conclusion that Bass did not act as an “individual” was

arbitrary and capricious because it ignored contradictory record evidence and

imposed a presumption of entity action unsupported by the statute. The record is

clear. Bass conducted extensive research and analysis to uncover red flags of the

UDF fraud. Bass determined to tell the SEC what he knew and worked through

personal contacts to arrange a meeting where he led a discussion of his analysis. Bass

directed Hayman personnel to provide the SEC with additional information and

explanation on his behalf over the succeeding months. And Bass hired an attorney to

file a TCR, and later award application, and signed the forms as the sole

whistleblower. The SEC reached its contradictory, “no evidence” conclusion by

ignoring this individual-capacity evidence and imputing Bass’s personal actions to

Hayman without statutory or evidentiary grounds for doing so.

      Second, the SEC’s decision to enforce an after-the-fact regulatory deadline

was arbitrary, capricious, and otherwise not in accordance with law. Bass complied

with the governing regulations at the time he filed his TCR, and the SEC cited no

contemporaneous authority to the contrary. Instead, it relied primarily on a



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“clarification” issued a year and a half after Bass’s filing. The clarification, in turn,

pointed to an unwritten rule apparently requiring the TCR to be the first point of

contact with the SEC. But this “rule” was neither enacted nor followed by the SEC.

Indeed, the SEC invited contact through numerous channels, required only that

TCRs be filed before the underlying final judgment, and regularly waived late filings

when other requirements were satisfied. Because the decision to enforce the 30-day

deadline imposed new duties on Bass with respect to a filing long since completed, it

was impermissibly retroactive. The decision was also arbitrary and capricious, as was

the denial of Bass’s waiver request, which failed to address seven of the eight factors

raised by Bass and relied upon by the SEC in earlier waiver determinations.

      Because both bases for the SEC’s Final Order violate the APA, the Final

Order should be vacated and the case remanded to the SEC for further proceedings.

                                    ARGUMENT

I.    The standard of review for the SEC’s whistleblower decision, while
      “narrow,” is “not toothless.”

      This case arises from an administrative scheme that is supposed to incentivize

and reward the reporting of securities-law violations to the SEC. Section 21F of the

Securities Exchange Act of 1934 says the SEC “shall pay an award or awards to 1 or

more whistleblowers who voluntarily provided original information to the




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Commission that led to the successful enforcement of the covered judicial or

administrative action.” 15 U.S.C. § 78u-6(b)(1).

      “[W]histleblower” is defined by the statute to mean “any individual who

provides, or 2 or more individuals acting jointly who provide, information relating to

a violation of the securities laws to the Commission, in a manner established, by rule

or regulation, by the Commission.” Id. § (a)(6). A “covered” action includes “any

judicial or administrative action brought by the Commission under the securities

laws that results in monetary sanctions exceeding $1,000,000.” Id. § (a)(1).

Although the amount of any whistleblower award is committed to the agency’s sole

discretion under the statute, the eligibility determination is not so flexible: the statute

mandates that the SEC “shall pay an award or awards” to any whistleblowers who

meet those elements. See id. §§ (b)(1), (c)(1)(A).

      Section (f) provides for appellate review of the SEC’s decision “in accordance

with Section 706 of” the Administrative Procedure Act. Id. § (f). Agency decisions

must be set aside under the APA if they are arbitrary and capricious or otherwise not

in accordance with law. 5 U.S.C. § 706(2)(A). This review is “narrow” but “not

toothless,” and after recent opinions by the Supreme Court and this Court, “has

serious bite.” Data Mktg. P’ship, LP v. U.S. Dep’t of Lab., 45 F.4th 846, 856 (5th Cir.

2022) (citing DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891 (2020)).



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      This Court’s review of agency decisionmaking should be “searching and

careful.” Univ. of Tex. M.D. Anderson Cancer Ctr. v. U.S. Dep’t of Health & Hum.

Servs., 985 F.3d 472, 475 (5th Cir. 2021). The focus is on “the record before the

agency at the time of its decision” and “the agency’s stated rationale at the time of

its decision”—courts “must disregard any post hoc rationalizations.” Luminant

Generation Co. v. EPA, 675 F.3d 917, 925 (5th Cir. 2012). In fact, agency reliance on

post hoc rationalizations “is relevant evidence that the action is arbitrary and

capricious.” Data Mktg. P’ship, 45 F.4th at 856.

      Agency decisions must be the result of “reasoned decisionmaking” based on

a “logical and rational” process that embodies a “rational connection between the

facts found and the choice made.” Huawei Techs. USA, Inc. v. FCC, 2 F.4th 421, 433-

34 (5th Cir. 2021) (internal quotation omitted). Agency decisions that contain

“unexplained inconsistencies in the rulemaking record” or that are “internally

inconsistent and inadequately explained” must be set aside as arbitrary and

capricious. Sierra Club v. EPA, 939 F.3d 649, 664 & n.76 (5th Cir. 2019) (internal

quotations omitted); see also Chamber of Com. v. U.S. Dep’t of Lab., 885 F.3d 360, 382

(5th Cir. 2018) (“Illogic and internal inconsistency are characteristic of arbitrary and

unreasonable agency action.”).




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      Thus, agency action will be set aside as arbitrary and capricious if the agency:

      • “relied on factors which Congress has not intended it to consider,”

      • “entirely failed to consider an important aspect of the problem,”

      • “offered an explanation for its decision that runs counter to the evidence
        before the agency,” or

      • offered an explanation that “is so implausible that it could not be ascribed
        to a difference in view or the product of agency expertise.”

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983). Similarly, “any action premised on reasoning that fails to account for

relevant factors or evinces a clear error of judgment” will be vacated. M.D. Anderson

Cancer Ctr., 985 F.3d at 475 (internal quotations omitted).

      The SEC overstepped those boundaries—and its decision denying Bass’s

whistleblower claim must be vacated under the APA—for two independent reasons.

II.   The SEC acted arbitrarily and capriciously in concluding that Bass did
      not act in his individual capacity and thus was not a whistleblower.

      First, the SEC improperly concluded that Bass is not a “whistleblower” under

the statute because he did not act as an individual. That decision was wrong as a

matter of fact and law. To reach that conclusion, the SEC ignored—and thus reached

a decision contradicted by—undisputed evidence establishing that Bass provided

information to the SEC as an individual and applied for a whistleblower award as an




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individual. Moreover, the SEC’s decision improperly rewrote the statute by

imposing a presumption of entity action that has no basis in the statutory text.

      A.     The SEC ignored undisputed evidence that contradicts its
             conclusion and shows that Bass provided information to the SEC in
             his individual capacity.

      The SEC does not dispute that Bass and Hayman provided significant, original

information that the agency used in its complaint against UDF. (Compare AR:536

with AR:547-549.) But it denied Bass’s whistleblower application based on the

erroneous determination that he did not act as an individual, finding his arguments

to that effect were “unsupported by the record.” (AR:548.) The only way the SEC

could have reached that conclusion was by burying its head in the sand and ignoring

contradictory record evidence in contravention of its duties under the APA. See

Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43 (agency acts arbitrarily and capriciously

when reaching a decision that “runs counter to the evidence before the agency”);

Amin v. Mayorkas, 24 F.4th 383, 394 (5th Cir. 2022) (“Total failure to consider

important evidence is a basis for setting aside agency action.”).

      From beginning to end, Bass was personally involved in providing information

to the SEC and did so in his individual capacity. The red flags about UDF were

initially uncovered through Bass’s investigation and further developed through his

“continuing research, review, and analysis.” (AR:537-538.) With that information



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in hand, “it was Mr. Bass in his personal capacity who determined to report his

findings to the SEC.” (AR:538.) He started by directing Hayman’s general counsel

to set up a meeting with the SEC, and when that did not bear fruit, Bass leveraged

his personal contacts to arrange a meeting with the criminal authorities as well as the

SEC. (AR:537.) Once there, Bass personally “led the discussion and walked the

government representatives through” the information he and his team had

uncovered. (AR:537-538.) For several months after, Bass continued his analysis with

the assistance of his team at Hayman and directed Hayman staff to share that

information with SEC staff in phone calls and meetings. (See AR:506, 538, 542.)

      To formalize those efforts, Bass hired an attorney and filed a Form TCR listing

himself as the sole complainant. (AR:212.) Although the TCR materials are

somewhat inconsistent on this point, they mostly refer to “a hedge fund manager”

(Bass) as the “Whistleblower.” (AR:214-215.) The TCR is signed by Bass alone.

(AR:217; see 76 Fed. Reg. at 34,336-37 (discussing requirement that the

“whistleblower” sign the TCR under Rule 21F-9).) Both the cover letter and TCR

supplement further confirm that, while Bass and his team at Hayman worked

together to pull the thread on UDF’s purposefully obscured scheme, Bass’s




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contributions were separate from Hayman’s and personal to him. 8 (See AR:208

(filing made by “Bass as well as Hayman”), AR:218 (similar).)

       The SEC’s Final Order ignored nearly all of this individual-capacity evidence,

which is enough on its own to render its decision on Bass’s individual status arbitrary

and capricious. See, e.g., Texas v. United States, 40 F.4th 205, 227-28 (5th Cir. 2022)

(agency decision failed to consider necessary evidence); Wages & White Lion Invs.,

L.L.C. v. FDA, 16 F.4th 1130, 1140 (5th Cir. 2021) (same).

       Instead of crediting the extensive evidence of Bass’s individual involvement,

the SEC myopically focused on the acts of Hayman’s general counsel (Christopher

Kirkpatrick) and other employees, finding a lack of evidence that they were acting at

Bass’s direction on his personal behalf. (AR:548.) But Kirkpatrick testified

otherwise, stating in his declaration that his interactions with the SEC were

undertaken “at the direction of Mr. Bass,” (AR:537-538), and confirming that he

“was working at Kyle’s sole direction on behalf of him and [Hayman].” (AR:542.)

The record before the agency also included a follow-up email from Kirkpatrick

confirming that he “represented [Bass] personally as well as representing his various

companies, including Hayman Capital Management.” (Id.)



8
  As the SEC noted, Bass used personal counsel to file the TCR and award application, further
illustrating that he was acting as an individual, not as Hayman. (See AR:550 n.18.)


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      This evidence, ostensibly acknowledged by the SEC but ultimately ignored,

contradicts the SEC’s conclusion that the record “does not demonstrate that the

entity’s general counsel or employees ever represented anyone other than the entity

when providing information to the SEC.” (AR:548.) This “[i]llogic and internal

inconsistency” is “characteristic of arbitrary and unreasonable agency action” that

must be set aside. Chamber of Com., 885 F.3d at 382; see also Sw. Elec. Power Co. v.

EPA, 920 F.3d 999, 1019 (5th Cir. 2019) (setting aside agency decision where

evidence established agency’s chosen technology was “demonstrably ineffective”);

Desoto Gen. Hosp. v. Heckler, 766 F.2d 182, 185 (5th Cir. 1985) (arbitrary and

capricious to rely on study for uses the study itself disclaimed).

      B.     The SEC concocted a presumption against individual filer status
             that is unsupported by the statute.

      The SEC’s analysis also missed the mark for another related but distinct

reason. In focusing on Hayman’s involvement to the exclusion of Bass, the SEC

effectively rewrote the statutory definition of “whistleblower,” imposing out of

whole cloth a presumption imputing an individual’s actions to an employer or other

affiliated entity rather than to the individual. (See AR:548.)

      The distorting impact of this presumption is best illustrated by the SEC’s

analysis of the initial meeting with Bass and Hayman employees in April 2015. After

begrudgingly acknowledging the evidence that Bass arranged the meeting and led the


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discussion, the SEC batted that pesky fact aside by finding that Bass failed to prove

that he himself was acting in his “personal capacity rather than on behalf of” Hayman.

(AR:548.) Left unexplained is how Bass or any individual with a wholly-owned

business could meet this standard and rebut the SEC’s presumption of entity action

short of literally wearing a hat that says “individual capacity.” Here, Bass personally

conducted extensive research and analysis, scheduled a meeting with governmental

authorities, attended the meeting in person, and led the discussion of his analysis.

(AR:537-538.) He filed and signed the TCR as the sole complainant. (AR:212, 217.)

The natural conclusion to be drawn from the evidence is that he was acting as an

individual, not an entity.

      The statute does not require more. See 15 U.S.C. § 78u-6(a)(6) (defining a

whistleblower as “any individual who provides . . . information relating to a violation

of the securities laws”). By imposing a presumption of entity action that creates

evidentiary hurdles beyond what the statute requires, the SEC violated the “core

administrative-law principle that an agency may not rewrite clear statutory terms to

suit its own sense of how the statute should operate” Tex. Med. Ass’n v. U.S. Dep’t

of Health & Hum. Servs., 587 F. Supp. 3d 528, 541-42 (E.D. Tex. 2022) (HHS

subordinated statutory factors and imposed a heightened burden of proof not present

in the statute). The SEC’s decision should be set aside as arbitrary and capricious



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for this additional reason. See Util. Air Regul. Group v. EPA, 573 U.S. 302, 325-28

(2014) (EPA improperly modified statutory thresholds); M.D. Anderson Cancer Ctr.,

985 F.3d 472 at 475-76 (HHS improperly applied penalty amounts exceeding

statutory maximums); Chamber of Com., 885 F.3d at 381 (Department of Labor

impermissibly attempted to redefine statutory term).

III.   The SEC acted arbitrarily and capriciously in retroactively imposing a
       filing deadline enacted nearly four years after Bass’s initial filings and
       refusing to waive it.

       Second, the SEC improperly denied Bass’s award application on timeliness

grounds by inexplicably finding that he failed to comply with a regulatory deadline

that did not exist when he submitted his claim. (AR:548-550.) Although that after-

the-fact deadline should never have been applied in the first place, the SEC

compounded its error by refusing to waive the deadline like it has for others in similar

circumstances. (AR:549.) Both decisions were arbitrary and capricious, and the

imposition of the deadline here was also impermissibly retroactive and thus contrary

to law. The SEC’s untimeliness ruling should be vacated.

       A.    The SEC’s insistence on applying an after-the-fact regulatory
             deadline was legally impermissible, arbitrary, and capricious.

       The relevant facts here are as simple as they are damning to the SEC’s

decision. In its orders, the SEC rejected Bass’s whistleblower application because he

“failed to submit a Form TCR to the Commission within 30 days of the submission


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of information upon which [his] award claim is based.” (AR:546.) To support that

conclusion, the SEC cited Rule 21F-9(e), which (today) says that a whistleblower

must comply with the TCR procedures “within 30 days of when you first provide

the Commission with original information that you rely upon as a basis for claiming

an award.” 17 C.F.R. § 240.21F-9(e). The problem is: that language was not enacted

and effective until December 7, 2020, almost four years after Bass filed his TCR

(January 20, 2017) and five and a half years after Bass initially provided his discoveries

to the SEC (April 2015). See 85 Fed. Reg. 70,898, 70,922, 70,945 (Nov. 5, 2020).

      There was no 30-day filing deadline at the relevant times here. Under the

version of Rule 21F-9 that was in effect at the time Bass started blowing the whistle,

the SEC simply required that a prospective whistleblower must “submit [its]

information about a possible securities law violation by either of these methods:

(1) Online, through the Commission’s Web site located at http://www.sec.gov; or

(2) By mailing or faxing a Form TCR (Tip, Complaint or Referral) (referenced in

§ 249.1800 of this chapter) to the SEC Office of the Whistleblower[.]” 17 C.F.R.

§ 240.21F-9(a) (2011); see 76 Fed. Reg. at 34,368. Bass complied with that simple

requirement in 2017. The SEC’s insistence that he also comply with an as-yet-

unwritten timing requirement was both an exercise in impermissible retroactivity

and was another arbitrary and capricious decision.



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             1.    The 30-day deadline applied by the SEC is inapplicable to
                   Bass because it imposes an impermissible retroactive effect.

      There’s no question here that the SEC applied its new filing deadline

retroactively. The only question is whether that was legally appropriate. It was not.

      Although retroactivity is not always improper, it was here because the

application of Rule 21F-9(e) to Bass’s four-year-old filing created an impermissible

retroactive effect that should have rendered the regulation “inapplicable to the event

or act in question.” Germain v. US Bank Nat’l Ass’n, 920 F.3d 269, 275 (5th Cir.

2019) (internal quotation omitted). A regulation is impermissibly retroactive when it

would “impair rights a party possessed when he acted, increase a party’s liability for

past conduct, or impose new duties with respect to transactions already completed.”

Handley v. Chapman, 587 F.3d 273, 283 (5th Cir. 2009). In making this assessment,

courts apply “commonsense, functional judgment about whether the new provision

attaches new legal consequences to events completed before its enactment.”

Germain, 920 F.3d at 275 (internal quotation omitted).

      Here, the SEC’s imposition of the new Rule unquestionably imposed on Bass

new duties (the 30-day deadline) and legal consequences (the related award denial)

to a transaction (the TCR filing) that was long since completed at the time the Rule

became effective. Talk about a “surprise switcheroo.” See Wages & White Lion, 16

F.4th at 1138 (internal quotations omitted). For that reason alone, the 30-day-filing


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requirement should not have been applied to Bass. See United States v. Gutierrez, 443

F. App’x 898, 908 (5th Cir. 2011) (district court ordered to apply old regulation on

remand where new regulation had impermissible retroactive effect).

      The SEC’s attempts to defend its retroactivity decision do not withstand

scrutiny. The SEC first claimed that Rule 21F-9(e) applied to all award applications

pending on its effective date (AR:547 n.8), but this circular argument is no defense:

new procedural rules “may be made to apply to pending procedures” only “if injury

or prejudice does not result therefrom.” Handley, 587 F.3d at 283 (quotation

omitted). That was manifestly not the case here, where the SEC’s retroactive

application of the deadline prejudiced Bass by supporting the denial of his claim.

      The SEC also observed that the TCR filing requirement was first imposed in

2011. (AR:549.) That misses the point by a mile: there’s no question that Bass filed

a TCR and thus complied with the only relevant requirement at the time. (AR:207-

506.) The SEC overstepped by changing the rules about when Bass needed to file his

TCR and demanding that he meet a deadline he could not have known about.

      The SEC then pivoted from that generic requirement to a 2018 “clarification”

purporting to solidify its previously unannounced “approach” requiring a TCR

filing “the first time an individual provides information to the Commission.”

(AR:549.) But there was no basis for applying this unwritten rule to Bass given that



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even the clarification was issued seventeen months after Bass’s filing and has no basis

in the SEC’s regulations or decisions. Neither original Rule 21F-9 nor its supporting

comments contained any requirement that a whistleblower first provide information

to the SEC through a Form TCR. See generally 76 Fed. Reg. at 34,300. The literal

text of the Rule allowed for information to be submitted on the SEC’s website. 17

C.F.R. § 240.21F-9(a) (2011). And the only SEC decisions on the issue simply

required a filing before the issuance of a final judgment or order in the underlying

enforcement action, which is not even arguably a problem here. See [Redacted] Final

Order (S.E.C. Sept. 9, 2017);9 [Redacted] Final Order (S.E.C. Feb. 11, 2019); 10

[Redacted] Final Order (S.E.C. Apr. 20, 2019).11

          The SEC’s so-called clarification is also contradicted by its own practice and

that of other agencies applying substantially similar regulatory schemes. Before

enacting Rule 21F-9(e)—and even now—the SEC’s own website encouraged

whistleblower tips through numerous channels. See, e.g., Kohn, Kohn and Colapinto,

LLP, Comment Letter on Proposed Amendment to Rule 21F-9(e) (May 6, 2019) at

2-3.12 Consistent with this multipronged outreach, SEC award decisions routinely


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     Available at https://www.sec.gov/files/OWB%20Final%20Order%20090917_2.pdf.
10
     Available at https://www.sec.gov/files/Denial%20Orders%202.11.19.pdf.
11
     Available at https://www.sec.gov/files/Final%20Order_4.20.2019.pdf.
12
     Available at https://www.sec.gov/comments/s7-16-18/s71618-5453107-184910.pdf.


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grant awards to whistleblowers like Bass who provide the SEC with original

information prior to filing the required form. 13 In fact, in adopting the 2020

amendments to the whistleblower rules (including the new 30-day deadline), then-

SEC Commissioner Jay Clayton emphasized that the Rules are supposed to provide

grace to whistleblowers who provide valuable information but don’t strictly comply

with every regulatory requirement and reiterated that the agency would always have

discretion to grant relief where appropriate. 14

       Other federal agencies applying similar whistleblower programs have done

just that, focusing on the substance of the whistleblower’s contributions rather than

the form of the filing—or have been forced into that result in litigation. See, e.g.,

Whistleblower 21276-13W v. Comm’r, 144 T.C. 290, 303-06 (T.C. 2015) (under a

whistleblower scheme on which the SEC scheme was modeled, rejecting the IRS’s

contention that whistleblowers were required to file a form equivalent to the TCR to




13
  See, e.g., In re Claims for Award, Rel. No. 85412, at 4 (S.E.C. Mar. 26, 2019), available at
https://www.sec.gov/rules/other/2019/34-85412.pdf; In re Claims for Award, Rel. No. 82181, at
4 n.5 (S.E.C. Nov. 30, 2017), available at https://www.sec.gov/rules/other/2017/34-82181.pdf; In
re Claim for Award, Rel. No. 81227, at 2 n.4 (S.E.C. July 27, 2017), available at https://www.
sec.gov/rules/other/2017/34-81227.pdf; In re Claim for Award, Rel. No. 79747, at 2 n.3 (S.E.C.
Jan. 6, 2017), available at https://www.sec.gov/rules/other/2017/34-79747.pdf.
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   Jay Clayton, Strengthening Our Whistleblower Program (Sept. 23, 2020), available at
https://www.sec.gov/news/public-statement/clayton-whistleblower-2020-09-23.


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qualify for an award); 15 In re Claims for Award, Determination No. 20-WB-02

(C.F.T.C. Dec. 19, 2019) (under nearly identical whistleblower regulations under the

same statute, issuing whistleblower award even though Form TCR not filed until

after investigation concluded);16 In re Claims for Award, Determination No. 18-WB-

01, at 2, 5 (C.F.T.C. July 12, 2018) (same). 17 The SEC erred in doing the opposite:

denying relief on the basis of a procedural technicality that wasn’t even technically

applicable. The SEC’s timeliness ruling fails for this reason alone.

                              *       *     *         *    *      *

          The SEC’s Final Order cites no contemporaneous authority that imposed any

filing deadline at the time Bass blew the whistle—because there was none. Bass

complied with the regulations governing his TCR filing at the time he filed it, and

the SEC’s facially unfair attempt to impose a deadline long after the fact should be

given no effect. See, e.g., Germain, 920 F.3d at 275 (courts construe retroactive

regulations “as inapplicable to the event or act in question”).


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  See also S. REP. NO. 111-176, at 111 (2010) (SEC whistleblower program “is modeled after a
successful IRS Whistleblower Program enacted into law in 2006”).
16
     Available at https://www.whistleblower.gov/sites/whistleblower/files/2019-12/20-WB-02.pdf.
17
  Available at https://www.whistleblower.gov/sites/whistleblower/files/2018-07/18-WB-01%20-
%20Public%20Order.pdf; see also 76 Fed. Reg. 53,172, 53,172 n.6 (Aug. 25, 2011) (“[CTFC] staff
has consulted with SEC staff regarding drafting of rules to implement the Commission’s and
SEC’s respective Dodd-Frank Act whistleblower provisions. . . . To the extent that the
Commission and SEC reached the same conclusions on common issues, the Commission
endeavored [to] harmonize its rule text with the SEC’s final rule text.”).


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             2.     Retroactive imposition of the 30-day deadline to Bass is
                    arbitrary and capricious.

      The SEC’s decision not only gave impermissible retroactive effect to Rule

21F-9(e) but was also arbitrary and capricious. The SEC’s rationale for applying the

deadline here failed multiple basic APA requirements:

       • the SEC “inadequately explained” how its cited authorities retroactively
         governed Bass’s filing or how he could have possessed constructive notice
         of and complied with not-yet-issued regulations and guidance, Sierra
         Club, 939 F.3d at 664;

       • the SEC offered no “rational connection” between the facts and law
         existent at the time of Bass’s filing and its ultimate decision, Huawei
         Techs., 2 F.4th at 434; and

       • the SEC failed to offer “a reasoned analysis” for departing from its own
         decisions and those of other agencies applying substantially similar
         whistleblower programs, Jupiter Energy Corp. v. FERC, 407 F.3d 346, 349
         (5th Cir. 2005).

In sum, the SEC’s decision to enforce a regulatory deadline established four years

after Bass’s filing “evinces a clear error of judgment” that should be set aside as

arbitrary and capricious. See M.D. Anderson Cancer Ctr., 985 F.3d at 475.

      B.     The SEC’s refusal to apply its own waiver precedent as requested
             by Bass was arbitrary and capricious.

      To make matters worse, the SEC acted arbitrarily and capriciously by refusing

to waive the filing deadline and failing to follow its own precedent doing just that for

other similarly-situated applicants.




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      “It is a bedrock principle of administrative law that an agency must treat like

cases alike.” M.D. Anderson Cancer Ctr., 985 F.3d at 479 (internal quotation

omitted); see also Noranda Alumina, L.L.C. v. Perez, 841 F.3d 661, 665 (5th Cir. 2016)

(“An agency cannot merely flit serendipitously from case to case, like a bee buzzing

from flower to flower, making up the rules as it goes along.”) (internal quotation

omitted). At a minimum, an agency “must cogently explain why it has exercised its

discretion in a given manner and must supply a reasoned analysis for any departure

from other agency decisions.” Jupiter Energy Corp., 407 F.3d at 349 (internal

quotation omitted).

      The SEC failed to do so here. In support of his waiver request, Bass cited to

SEC precedent and explained why the eight factors relied on by the SEC to grant

waivers in other cases supported a similar waiver here. (AR:534-535 (citing In re

Claim for Award, Rel. No. 90580 (S.E.C. Dec. 7, 2020)).) Those factors supported a

waiver because:

      (1)    Bass provided written information directly to SEC staff;

      (2)    Bass’s communications unambiguously indicated that he intended to
             submit the information as a whistleblower;

      (3)    Bass’s information was credible and of high quality, to the point that
             SEC staff used this information in its investigation and complaint
             against UDF;

      (4)    SEC staff viewed Bass as a whistleblower throughout the investigation;


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      (5)    Bass’s initial attorney offered ineffective assistance in handling the
             whistleblower application;

      (6)    Bass did not participate in UDF’s misconduct;

      (7)    the record clearly and convincingly supports that Bass would otherwise
             be entitled to an award; and

      (8)    denial of an award would result in unfairness to Bass and would deter
             others from reporting findings of misconduct to the SEC.

(AR:534-535.) In response to these arguments, the SEC really just addressed one

factor (ineffective assistance of counsel) and even that discussion was superficial and

insufficient. (AR:550.) The Final Order did not mention, much less attempt to

analyze and distinguish, the seven other factors set forth in Release No. 90580 and

urged by Bass as supporting a similar waiver here, perhaps because the SEC could

not dispute them. (See id.; supra at 5-11.)

      That is simply not good enough. The SEC’s failure to “explain why it has

exercised its discretion” to deny the waiver and “supply a reasoned analysis for” its

departure from Release No. 90580 was arbitrary and capricious and should be set

aside. Jupiter Energy Corp., 407 F.3d at 349-50 (FERC decision set aside as arbitrary

and capricious for failing to follow and ruling inconsistently with earlier decision);

see also M.D. Anderson Cancer Ctr., 985 F.3d at 480 (HHS violated the APA where it

“offered no reasoned justification for” its failure to follow past agency precedent).




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                         CONCLUSION AND PRAYER

      For the foregoing reasons, Bass requests that the Court grant his petition for

review, vacate the SEC’s Final Order, and remand to the SEC for further

proceedings. Bass further requests any additional relief to which he may be entitled.


                                       Respectfully submitted,

                                       /s/ Andrew W. Guthrie
                                       Andrew W. Guthrie
                                       Texas Bar No. 24078606
                                       Katherine S. Addleman
                                       Texas Bar No. 00905400
                                       Ryan Paulsen
                                       Texas Bar No. 24060397
                                       HAYNES AND BOONE, LLP
                                       2323 Victory Avenue, Ste. 700
                                       Dallas, TX 75219
                                       Telephone: (214) 651-5000
                                       andrew.guthrie@haynesboone.com
                                       kit.addleman@haynesboone.com
                                       ryan.paulsen@haynesboone.com

                                       COUNSEL FOR PETITIONER J. KYLE BASS




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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 21st day of March, 2023, I electronically
transmitted the attached document to the Clerk of the Court of the 5th Circuit Court
of Appeals using the ECF System of the Court. The electronic case filing system sent
a “Notice of Electronic Filing” to the attorneys of record who have consented in
writing to accept this Notice as service of this document by electronic means.

                                       /s/ Andrew W. Guthrie
                                       Andrew W. Guthrie



                             ECF CERTIFICATION

       I hereby certify that (1) required privacy redactions have been made pursuant
to 5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper
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                                       /s/ Andrew W. Guthrie
                                       Andrew W. Guthrie




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      1.     This brief complies with the type-volume limitation of FED. R. APP. P.
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                                                Andrew W. Guthrie




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